UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

 

MAGNOLIA FLEET, LLC, and CIVIL ACTION NO:
MAGNOLIA MIDSTREAM, LLC

SECTION “”
Plaintiffs Judge :

DIVISION
VERSUS Judge:

Rule 9(h) - Admiralty
GRIFFIN BARGE LINE, LLC,
Defendant

 

 

ATTORNEY’S DECLARATION THAT
DEFENDANTS CANNOT BE FOUND WITHIN THE DISTRICT

Pursuant to 28 U.S.C. § 1746, I, Aaron B. Greenbaurn, verify under penalty of perjury that
the following declarations are true and eorrect:

1. I am a member of the Bar of this Court, am associated with the firm of Pusateri,
Johnston, Guillot & Greenbaum, LLC, and represent the plaintiffs herein, Magnolia Fleet, LLC
and Magnolia Midstream, LLC,

2. That I have contacted the Secretary of State, State of Louisiana, to determine if
Grifiin Barge Lines, LLC was and is a domestic corporation organized and existing pursuant to
the laws of the State of Louisiana, or has appointed an agent for service of process in the State of
Texas.

3. That the filings on record with the Secretary of State, State of Louisiana, indicate

that Griflin Barge Lines, LLC is not registered with the Secretary of State,‘ State of Louisiana.

4. That the Secretary of State, State of Louisiana, does not have a record of Griffin
Barge Lines, LLC maintaining a registered agent for service of process within the State of
Louisiana.

5. That I searched Griffin Barge Lines, LLC’s website and used internet search
engines, no telephone or address listing exists for Griflin Barge Lines, LLC in the State of
Louisiana.

6. I submit that the defendant, Grifl"m Barge Lines, LLC, is not to be found within the
District for the U.S. District Court for the Eastern District of Texas within the meaning of Rule B
of the Supplemental Rules for Certain Admiralty and Maritime Claims. v

7. Upon information and belief, the defendant, Griffin Barge Lines, LLC has or will
have during the pendency of this action, tangible and intangible property within the District in the

hands of the Magnolia Fleet East Fleet.

SIGNED this 23rd day of October, 2018.

 

Aaron B. Greenbaum (LA Bar No. 31752)

